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                       EXHIBIT 22
           Case
2/25/23, 9:28 AM   3:22-cv-00049-NKM-JCH Document 171-22      Filed
                                                    Gmail - FW: Xerox 02/27/23
                                                                      Scan     Page 2 of 6 Pageid#:
                                                 1900

           Gmail                                                                     Joshua Mast <            Redacted             gmail.com>



 FW: Xerox Scan
 4 messages

                                                                                                                     Thu, Jun 9, 2022 at 7:31
   Redacted LTCOL USMC USSOCOM MARSOC (USA) < Redacted                                    mil@socom.mil>
                                                                                                                                          PM
 To: "   Redacted   gmail.com" < Redacted    gmail.com>




            From: Redacted LTCOL USMC USSOCOM MARSOC (USA) < Redacted mil@socom.mil>
            Date: Thursday, Jun 09, 2022, 18:12
            To: Mast, Joshua K MAJ USMC USSOCOM MARSOC (USA) < Redacted mil@socom.mil>
            Cc: Redacted E Col USMC HQMC HQ BN (USA) < Redacted @usmc.mil>, Redacted
            N COL USMC USSOCOM MARSOC (USA) Redacted @socom.mil>,         Redacted     P
            CIV USSOCOM MARSOC (USA) <          Redacted socom.mil>, Redacted   SGTMAJ
            USMC USSOCOM MARSOC (USA) < Redacted socom.mil>
            Subject: FW: Xerox Scan


            Josh,



            Just got this from the Command Deck.



            V/R,

              Redacted
            LtCol, USMC

            SJA, Marine Forces Special Operations Command

            O: 910-Redacted

            Cell: 910-Redacted



            ATTORNEY-CLIENT PRIVILEGED COMMUNICATION/ATTORNEY WORK PRODUCT: The

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            e-mail in error or you have any questions, please notify me immediately by

            return e-mail or by calling (910) Redacted Thank you.

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           Case
2/25/23, 9:28 AM   3:22-cv-00049-NKM-JCH Document 171-22      Filed
                                                    Gmail - FW: Xerox 02/27/23
                                                                      Scan     Page 3 of 6 Pageid#:
                                                 1901




            -----Original Message-----

            From:          Redacted     LTCOL USMC USSOCOM MARSOC (USA)

            <     Redacted mil@socom.mil>
            Sent: Thursday, June 9, 2022 5:56 PM

            To:     Redacted          LTCOL USMC USSOCOM MARSOC (USA)

            <     Redacted mil@socom.mil>
            Subject: Xerox Scan



            Please open the scanned attachment



            Sent by:         Redacted mil@socom.mil]
            Number of Images: 2

            Attachment File Type: PDF



            Device Name: MSUMRR400220011

            Device Location: RR400 RM2200




 Joshua Mast <                Redacted        gmail.com>                                                         Fri, Jun 10, 2022 at 6:43 AM
 To: Stephanie Mast              Redacted      >



    ---------- Forwarded message ---------
    From: Redacted          LTCOL USMC USSOCOM MARSOC (USA) < Redacted mil@socom.mil>
    Date: Thu, Jun 9, 2022 at 19:32
    Subject: FW: Xerox Scan
    To:         Redacted       gmail.com < Redacted    gmail.com>


    [Quoted text hidden]
https://mail.google.com/mail/u/0/?ik=750b19e2f7&view=pt&search=all&permthid=thread-f%3A1735201988716923376&simpl=msg-f%3A1735201988716923376…   2/3
           Case
2/25/23, 9:28 AM   3:22-cv-00049-NKM-JCH Document 171-22      Filed
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          TouhyRescissionV2_06092022175607.pdf
          65K


 Joshua Mast <     Redacted     gmail.com>                                                                       Fri, Jun 10, 2022 at 6:50 AM
 To: " Redacted LTCOL USMC USSOCOM MARSOC (USA)" <                             Redacted mil@socom.mil>,               Redacted socom.mil,
     Redacted @socom.mil,   Redacted      socom.mil




    Good Morning Gentlemen,

    I respectfully request the General reconsider this order.

    It gags me from testifying in my daughter’s custody case the night before my case.

    It orders me to affirmatively act against her best interests, in a particularly dangerous moment in her
    life that will change her life forever.

    The Judge has already indicated this will likely be the last day of the hearing. I will not have an
    opportunity to speak the truth in her defense again.

    I am confident in the integrity of my command, but I have no confidence in the integrity of whoever is
    influencing this process to reach a perverse result like this.

    If nothing else, I request the order be modified to permit the declassified mission summary enclosure
    to be submitted to the court. Lily’s origin is the entire issue in the case. It is unjust to hide it from the
    court.
    It has previously been considered by a federal court with no concerns raised by DoJ in the subsequent
    years since that trial, until now.

    I am shocked by the injustice of all of this.

    My trial starts at 0900.

    Semper Fidelis,

    Major Mast
    [Quoted text hidden]




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Case 3:22-cv-00049-NKM-JCH Document 171-22 Filed 02/27/23 Page 5 of 6 Pageid#:
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                                 UNITED STATBS MARINE CORPS
                              MARINE FORCBS SPECIAL OPERATIONS COMMANO
                                            PSC BOX 20116
                                      CAMP LBJBUNE NC 28542 · 0116
                                                                         IN REPLV AEFER TO:
                                                                          5800
                                                                          cos
                                                                          JUN O9 2022

  From:    Commander, Marine Forces Special Operations Command
  To:      Major Joshua Mast, USMC

  Subj:    Rescission of Touhy Approval

  Ref:    (a)   SECNAVINST 5820. SA
          (b) Maj Mast ltr dtd 17 May 2022
          (c) MARSOC COS LTR dtd 18 May 2022
          (d) MARSOC COS LTR, dtd 7 Jun 2022

  l. Pursuant to reference (d), MARSOC rescinded its prio r approval(reference
  (c)) for you to uto utilize official information and relevant unclassified
 documents" in a Virginia court proceeding. Accordingly, you are not
 authorized in that proceeding to testify about, proffer evidence on, or
 elicit testimony about official government inf ormation, as defined in
 SECNAVINST 5820.SA . Additionally, you are directed t o take appropriate steps
 to inform the state court that the U.S. Government has not authorized you to
 use of any such information that has already submitted as part of the court
 proceeding. This includes, but is not l imited to the following:

          a. Information prepared by the Department of Defense for the
             International Committee of the Red Cross and Afghan social werker;

          b. Information submitted to the U.S. Citizenship and Immigration
             Services by another office in DoD;

          c. Information about what you observed during ano ther agency's
             questioning of a party to this litigation;

          d. Information within the government regarding an asylum appli cation;
             and

          e. I nformati on relating to in formation within a US Government database,
             specifically including any pleading or exhibit that refers to,
             incorporates, or cites u.s. Government information.

 2. Further , you are directed t o withdraw any submission made in the state
 proceeding that contains official government information, as you do not have
 authority to use such information, and you shall follow further instructions
 to properly secure u.s. Government information that has been placed in the
 court record, including any classified u.s. Government information.

 3. Upon the receipt of a request to utilize Department of the Navy
 information that meets the provisions of SECNAVINST 5820.SA, such reguest
 will be acted on promptly. If you intend to utilize information that
 originated from ether DoD components or non-DoD entities, authorization for
 the use of these above information must be received from the organizat ions
 which have cognizance over those subjecte,
Case 3:22-cv-00049-NKM-JCH Document 171-22 Filed 02/27/23 Page 6 of 6 Pageid#:
                                   1904
  Subj:   Rescission of Touhy Approval


  4. If you have any questions or concerns regarding~his matter, I can be
  reached at   Redacted @socom.mil or (910) Redacted

                                 Redacted
                                                V
